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DARLENE DUPREE
DEPOSITION TRANSCRIPT
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Page 1 :
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN

MICHAEL DUPREE, JR., Case No.
a Colorado Resident,
MICHAEL DUPREE, SR., 2:10-CV-12094-LPZ-MKM
and DARLENE DUPREE, his parents,
Residents of the Country of Austria,
Plaintiffs,
vs.
CRANBROOK EDUCATIONAL COMMUNITY,
JOHN J. WINTER, and CHARLES SHAW,

Defendants.

The Deposition of DARLENE DUPREE, a
Plaintiff in the above-entitled cause, taken by
Shari J. Pavlovich, CSR-5926, Certified Shorthand
Reporter, Registered Professional Reporter,
Certified Realtime Reporter, and Notary Public for

the County of Wayne, acting in the County of

Oakland, State of Michigan, at 38500 Woodward

Avenue, Suite 100, Bloomfield Hills, Michigan, on
Thursday, December 16, 2010 commencing about 10:35 |
a.m., pursuant to the Federal Rules of Civil

Procedure.

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And when was the -- when you say "CRB" so the

record's clear, we're talking about conduct review

board; correct?

Right.

When did you return from the conduct review board?

What would have been the date?

The 27th. And we got back to the house about 5:30.

You as parents were not a allowed to participate in

the conduct review board; correct?

Correct.

What's the next meeting reflected in your notes?

Well, I don't know if it was a meeting, per se, but

after the conduct review board we approached

Dr. Lorey to ask him how it went. And he basically

just fielded us and didn't answer any questions.
Then we went immediately at that

time, which is I have in my notes approximately

5 o'clock, to Arlyce' cffice. My husband had asked

what the appeal process was. And there didn't seem

to be one. Se he wanted to question Arlyce about

that issue.

All right. Let me interrupt. So did you meet with

Arlyce Siebert after the conduct review board

hearing on May 27th?

We did not. We got to the office. She was there.

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The door was open. We could see she was there. The
secretary spoke with her. She kind of nedded to us
and said that we would meet -~ the secretary came
back out and said we would have a meeting at

10 o'clock the next morning, which would nave been
Friday, the 28th.

Is the next meeting reflected in your notes, the
next meeting with Arlyce Siebert on the 28th?

Yes.

That meeting took place at 10 a.m.?

In Arlyce' office.

Who was present at that meeting?

Mike, Michael, and I all went; however, Arlyce
requested that Michael wait out in the secretary's
office.

How long did you and your husband meet with Arlyce
Siebert on the 28th?

I would say about an hour.

And this meeting is reflected in your notes?

Yes.

What's the next meeting reflected in your notes?

A meeting with Shaw, Pickett, and Winter. When we
were in the meeting with Arlyce, she said that she
was convinced that they had proof that he was

involved but that she didn't know what it was. She

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All right. Now, today you've been referring to that
calendar that's in front of you and you indicated
before that's a calendar for 2004. Did you -- the
notations that I can see from across the table that
are on the calendar, were these notations made
contemporaneously at the time?
Yes.
Could I see your calendar for a moment, please?
Yes. This one Chris gave me the other day because I
need the calendar to get the dates straight.

MR. LINDEN: Let the record reflect
that Mrs. Dupree has handed me a calendar book that
is for Purdue University, Krannert School of

Management 2004 planner.

BY MR. LINDEN:

Q

Now, I've turned the page to look at the month of
June 2004. You have no notations on that month, do
you?

No.

Okay. Let me ask you some background questions,
Mrs. Dupree. You currently live in Austria with
your husband?

Yes.

And this is your first and only marriage?

Yes,

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I'm not sure it's a lawsuit but I had a problem with :
a rental situation where someone was renting my
house and I had to go to court to have them evicted.
All right. And where was this?
Atlanta, Georgia.
And when would this have been?
"BQ.
And when you said you had to go to court, that would
have been court in Atlanta, Georgia?
Right.
Would that have been Cobb County or Fulton County?
Dekalb, D-E~K-A-L-B.
And besides that legal matter or proceeding, have
you been involved in any other legal proceedings?

No.

Have you ever testified anywhere before?
No. :

Now, during the time Michael was enrolled at

Cranbrook did you ever sign any enrollment

agreements?

I believe that both of us signed the enrollment

agreements each year.
Okay. I'm going to show you what was previously
marked as Exhibit 1, which is the enrollment

agreement for Michael for the school year 2003-2004.

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You would agree you did not sign that agreement?
I'm sorry. I did not sign this. It's only signed
by one parent.
Okay. And let's talk for a moment briefly about
your son Matthew. He graduated from Cranbrook in
20077?
Right.
And so he obviously continued to be enrolled at
Cranbrook after your son was dismissed; correct?
Yes.
And let's talk about Michael's education since he
was dismissed from Cranbrook. Your husband, when he
testified on Tuesday, indicated that Michael dropped
out or withdrew from Purdue in the fall of 2004
because of an illness?
Right.
What was the nature of the illness?
I think it was mono.
When you think it was mono, was he diagnosed with
some type of medical condition that prompted him —-
Yes, he went to a doctor and was on an antibiotic.
Was he ever diagnosed with a disease or illness that
caused the antibiotic to be prescribed?
I actually don't know.

And who was the doctor, if you recall?

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directed me to call the college counseling office,
who then directed me to -- I had to call Purdue and
see whether his admittance was still standing or
not.

When did John Winter direct you to or suggest that
you call Purdue?

The morning of -- no, John Winter directed me to
call the counseling office at Cranbrook. And I
think I talked to Rencher but I can't swear on that.
And she directed me that I needed to -- cr someone
needed to and it fell to me, call Purdue and see
whether or not his acceptance was still standing
because they had informed the school of the
disciplinary action and that it was no longer their
ballpark.

All right. So let me make sure I follow what you
say. So John Winter told you to contact somebody in
Cranbrook's college counseling office; right?
Right.

And you spoke to somebody in that office. It might
have been Charlene Rencher but you doen't recall for
certain who you spoke to?

Right.

Whoever you spoke to instructed you to call Purdue?

Right.

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Did they tell you who to call at Purdue?

No. But I asked for-that director of admissions. I
talked to the fellow that was running it. I didn't
want to talk to just a secretary.

All right. So you spoke to somebody at Purdue?

A gentleman at Purdue and I believe he was the
director of admissions.

Did you get his name?

No.

Do you have any notes of your phone conversation
with that person?

No.

And when did you speak to somebody in the admissions
office at Purdue?

I'm not positive but it would have definitely been
within the week of -- from the 26th of May for the
next ~- sometime in that next seven days.

And prior to the incident resulting in your son
being dismissed from Cranbrook he had already been
accepted to Purdue; correct?

Right.

And so when you spoke to this person in the
admissions office at Purdue who you can't recall
their name, what do you recall telling them?

They had already -- Cranbrook had already contacted

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that there was a disciplinary action. And I
followed it up with a phone call to tell them -- to
ask them what his standing was. And they wanted to
know what had happened.

And I had to go over it on the phone
about his accusations with this computer scandal and
that he was not involved. Although I wasn't able to
explain to them why he was being disciplined, but
that he was not going to be given a diploma from
Cranbrook and that -- was he still able to attend
Purdue or not.

And what did they say in answer to that question?
Not without a GED or a diploma.

All right. So during this phone conversation with
this person in the admission office at Purdue, you
gave them your explanation about the accusations
made against your son?

Yes.

How long did this phone conversation last for?

Oh, probably 20 minutes, 30 minutes.

And does your calendar that you have in front of you
reflect or indicate in any manner the date on which
you had that phone conversation with the Purdue
admissions office?

No, but it was within that -- right away in that

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in trouble. And I wanted -- I just thought that it :
was worth noting, I guess.

Can I see your original calendar again for a moment,
please?

(Witness hands document.)

Now, Michael was placed on probation in March of
2004; correct?

Correct.

And in March of 2004 are there any notations on your
calendar?

No.

Ana when he was placed on probation in March of 2004
there was a conduct review board; correct?

Correct.

You and your husband received a letter from
Cranbrook in the aftermath of that advising you that
Michael was placed on probation; correct?

Correct.

You would agree your calendar for March of 2004 does
not indicate one, that there was a conduct review
board hearing; or number 2, that he was placed on
probation; correct?

Correct.

Do you remember if you met with Arlyce Siebert in

April of 2004?

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1 9 Why was that?

2 A I'm not sure why. I just was not involved in the

3 application process.

4 Q Were you involved in your son Matthew's application
5 process for college?

6 A Yes. Yes.

7 Q Now, Michael applied to some colleges that he was

8 rejected from; correct?

9 A I believe soc.

10 Q One of the colleges he applied to was Babson while
11 he was attending Cranbrook; correct?

12 A Correct.

13 0 He was rejected by Babson?

i4 A Right.

15 Q Do you knew why he was rejected by Babson?

16 A No.

17 Q Do you know why Michael was rejected by any college
18 that rejected him?

19 A No.

20 Q So I want to come back to these meetings that you
ai had with Arlyce Siebert about your son Michael. Do
22 you recall attending such meetings before the

23 meeting that you attended with your husband in May
24 of 2004; correct?

25 A Correct.

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‘Yes.

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Do you remember, was that before or after he was
placed on probation?
That was -- I had the meeting to inform me that this
had happened, that he had found a pipe in Michael's
book bag. And that there would be a CRB and that
that -- the follow up on that was the probation.

Okay. So John Winter advised you that someone had

found in Michael's book bag a pipe?
When Michael arrived at his 8 a.m. class, Winter had

been waiting outside the classroom for Michael to

arrive.

ee

I'm going to have to interrupt you. And again, you

know, I'm going to chalk this up to your
unfamiliarity with the process.
My question was simply: Did somebody

advise you that the pipe was found in Michael's book

bag? So that's a yes or no.
Did someone advise me that the pipe was -~-

~~ was found in Michael's book bag?

Who advised you of that, Mrs. Dupree?
Winter.

and how did he advise you of that? Was that in
person? Telephone? What was the method of

communication?

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1 A He telephoned and asked me to come up to the school.
2 Q Do you remember the date?

3 A No.

4 Q And you would agree your calendar does not reflect

5 that?

6 A No. |
7 Q And so did you go out the same day to the school :
8 that he telephoned you?
9 A Yes. |
10 Q And then you met with Mr. Winter on that day? |
11 A Yes.
12 Q Was anybody else present during that meeting? :
13 A Michael.
14 Q And was Michael present throughout the meeting?
15 A No. Michael and I got into an argument during the

16 meeting and Michael got up and left and then Winter

17 stood up and screamed out, he's out. [
18 QO How soon into the meeting did you and your son get |
19 ' into an argument?
20 A Pretty soon. I was very upset. Winter told us this
21 and then I turned to Michael and said, How could you
22 do this? You know the rules. And then Michael got ,
23 up and left. :
24 Q And did the meeting with Winter continue?

25 A He stood up and said, He's out. And then the

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book bag and Winter explained to you what your son
gave him was this drug paraphernalia; correct?
So-called drug paraphernalia. It was a pipe.

Well, did you ever see the pipe?

I saw the pipe.
How did you happen to see the pipe?
Winter had it in his hands, showed it to me.

And you weren't familiar with it?

No.

And did he show it to you in the presence of your
son?

Yes.

And so during the course of this meeting,

Mrs. Dupree, was Mr. Winter letting you know that
your son was being accused of violating the school's
code of conduct?

Yes.

And did he also let you know in that meeting that

there was going to be a conduct review board

hearing?
Yes.

Did he let you know that before or after your son

walked out?

After.

And there was a conduct review board meeting that

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Okay. Now, you indicated an acknowledgment that you
did not sign the enrollment agreement for Michael
for the school year 2003-2004?

I -- no, I didn't. It's not there. My signature is
not there.

Have you ever seen that document before today?

Yes.

When's the first time you saw it?

Oh, I guess when they were entering sixth and ninth,
so that would have been ten years ago.

So when your sons originally enrolled at Cranbrook
was the first time you saw that type of document?
Right.

And were you aware that the enrollment agreement
provided that Cranbrook dismissed your children at
any time if they violated any of the conduct code at
Cranbrock?

Yes.

And with regard to Exhibit 3, which is from your
husband's deposition, which is the March 12, 2004
probation letter, did you see that letter around the
time that it was sent to you and your husband?

Yes.

And after you got that letter did you contact

anybody at Cranbrook?

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once?
No, no.

When you sat in on your husband's deposition on
Tuesday, do you recall some testimony about the fact

that supposedly Cranbrook was trying to accuse your

son of being involved with selling drugs and
marijuana?

Yes.

And there was some testimony about a student by the
name of Ali, do you remember?

Ali, yeah.

Do you know who Ali is?

I knew, yes.

Do you know what his last name is?

I think it's Mahmood.

Now, were you aware that your son Michael had a
business called ultrapresence.net?

Yes.

What did you know about his business?

Nothing. I don't understand computers at all.

At any time when you met with anybody from Cranbrook
about Michael's being dismissed from school did they
ever threaten you with criminal prosecution?
No. :

Did they ever threaten Michael with criminal

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When we met about his academic progress earlier in
the year, I can't remember when, but when the
meeting I referred to where Winter, Rutzen, Arlyce,
my husband, and I were at and talked about his
academic progress, Arlyce turned to Debbie Rutzen
and said, What does he need to graduate?

And she said English. I took the
English written exam over and had it signed that it
was submitted. So therefore, if he completed the
reguirement for English, he would have completed the
requirements for graduation.
Now, this meeting that you just described for us,
was that before or after Michael was placed on
probation in March of 2004?
Before, I believe.
Now, let's look again at paragraph 15. There's
reference to the community education -- the
Cranbrock Educational Community handbock. Do you
see that in paragraph 15?
Yes.
Would that be the handbook for school year
2003-2004?
I don't know.
Okay. All right. Let's go to paragraph 16. Why

don't you read that to yourself. And when you're

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done with that, I'll have a question or two
regarding it.

(Witness reviewing document.) I've read it.

Okay. So this indicates that you're claiming, among
other things, that the dismissal that you were
advised of in the letter dated June 1, 2004 was null
and void because you felt that he had completed all
of the requirements to graduate; correct?

Yes.

And you indicated that your understanding as to his
completion of these requirements was based on the
meeting you had before he was placed on probation
with Arlyce Siebert, John Winter, and Ms. Rutzen;
correct?

Yes. As well as the transcript that reflects that
he completed his final term and received final
grades.

All right. So let's talk about the transcript for a
moment. I just want to make sure I fully understand
your claim.

So the transcript, I'm going to show
you what was previously marked as Exhibit 6 at your
husband's deposition. First of all, I'm going to
ask you if you've seen that transcript before.

Yes.

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So as I now understand your testimony, your belief
that Michael had completed his requirements to
graduate as of June li, 2004 are based on A, the
meeting you described for us that took place before
he was placed on probation; correct?
Yes.
And B, the transcript which you have in your hand,
Exhibit 6?
Let me clarify. I knew at the time when I took the
English exam over to be signed that he was then
completing all requirements. When I got the
transcript, that was verified.
All right. When you say you knew at the time you
took the English exam over that he had completed his
requirements, when was that?
The 27th.
Of May?
Um-hmm .
That's a "yes"?
Yes.
Thank you.
Sorry, sorry.
That's okay. So May 27th, 2004. You knew, though,
according to the terms of his probation that he was

on probation through June 4th of 2004; correct?

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meeting you had with Arlyce Seibert?
Yes.
Okay. This meeting's reflected in the notes that
you provided today; correct?
Right.
Okay. Let's go to paragraph 20 of the Complaint.
And again, read it to yourself and I'll have a
question or two regarding that paragraph.
(Witness reviewing document.) Yes. I've read it.
All right. So that paragraph alleges, among other
things, that Cranbrook threatened you and your son
with federal prosecution; correct?
Yes.
And you testified a moment ago, you and your husband
were never threatened with prosecution; correct?
Correct.
Let's go to paragraph 22 on Page 5. And again, I'm
going to ask you to read it to yourself and T'll
have a question or two regarding that paragraph.
(Witness reviewing document.) Read.
Okay. So that paragraph alleges that:
- "Cranbrook, through its agents
and or employees, coerced and or
pleaded with a fellow student to

state and testify that Michael Dupree

tte

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you know that for a fact?
Yes.
Were you a participant in that phone conversation?
I was probably standing nearby in the kitchen. We
were in the kitchen.
Do you recall ever signing any documents authorizing
the release of your son Michael's academic records?
No. Well, you mean ever? Yes, sometime, yes.
And do you recall ever signing such a document while
he was enrolled at Cranbrook?
I know when we did the college process that one of
us or both of us signed to allow the transcript to
be sent. But that was prior to the "W" being put on
them.
Okay. Do you recall that that form allowed you to
revoke your authorization?
I don't even understand what you just asked me.
What do you mean, revoke my authorization?
Well, here, I'm going to help you out.

MR. LINDEN: Let's mark this
Exhibit 4.

(Deposition Exhibit Number 4 was

marked for identification.)

BY MR. LINDEN:

Q

You've just been handed what has been marked

Eee eT

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Exhibit 4.
Okay.
Let me note for the record for purposes of
identification, it's a form entitled permission to
release school records form. After you've reviewed
this document, let me know and I'll have some
questions for you, Mrs. Dupree.
Okay.
Have you seen this document before?
Yes.
Is that your signature?
Yes.
Okay. And you signed this, apparently, on June l,
2903; correct?
Yes.
And do you see in the first paragraph, the last
sentence says:
"This authorization shall remain
in force until specificaily revoked
by me in writing."
Do you see that?

Yes.
Did you ever revoke this document?
No.

Let's go to what would be the fourth to the last

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Okay. So in this paragraph it alleges that you

relied upon some false representations including

that if Michael completed his credits, schoolwork,

and graduation requirements from Cranbrook, that he

would be entitled to his high school diploma;

correct?

Correct.

Who made those representations?

Arlyce.

And when did Arlyce make those representations?

When we'd had the meeting about his academic

progress. We were all like going over all these

classes and everything. And then she said to

Debbie, What does he need to graduate? And then

Debbie Rutzen started going into a long thing.
Arlyce said no, no, just tell me,

what does he need to graduate and she said English.

Again, this is the meeting that took place before he

was placed on probation in March of 2004?

Correct.

Okay. With regard to the colleges that Michael

applied to, did any of them not accept GEDs?

I really wasn't involved in the application process.

So you wouldn't know that?

I don't know.

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Has he discussed with you what his postgraduate
plans might be?

No.

As I understand it, one of the things you're
claiming in this lawsuit, that Cranbrook falsified
the transcript?

Yes.

How did they falsify the transcript?

He did not withdraw and they put that on a legal
transcript with a seal.

And according to your Complaint, Charles Shaw
explained to your husband that a reason they did
this was because they thought it would be better for
your son; correct?

I believe his words were, we're doing you a favor.
And he was saying that because aiternatively they
would have indicated that he had been dismissed from
school; correct?

Correct.

Do you have any idea of whether or not having a
transcript indicating that he was dismissed from
school would have impaired Michael's abilities to
get into any colleges?

No more so than getting a GED under any situation.

So your testimony would be that getting a GED is no

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day of school at the beginning of the year in

September of 2003. So he was not on probation at
the time. So it was irrelevant.
All right. So you don't dispute, among other
things, that at some point Michael, your son, gave
another student his password?
No dispute.
Okay. And by the way, have you had a chance to
review any of the Gocuments that Cranbrook's
produced in this case?
No.
So that would mean, for example, you've had no
chance to review the investigation that the school
did regarding the allegations involving Michael's
violation of the computer use technology policy;
correct?
Correct.

MR. LINDEN: Let's take a break for a
second.

{Short recess taken at 1:30

p.m.}

(Back on the record at 1:44

p.m.)

BY MR. LINDEN:

Q

I want to make sure I understand the testimony that

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small community and if everybody's going to be
chatting, then it's very difficult for the people to
stay on there.

Okay. Let's turn to what would be Page 4 of this
Exhibit. So these are notes of Friday a.m. So
would this be Friday, May 28, 2004?
Yes.
Why don't you read to us what these notes say?
Michael e-mailed stat, which is his stat exam. It
was a take-home exam. He e-mailed that in. Winter
called to tell me that CRB had recommended
dismissal. Michael was forbidden on campus at all.
He would receive all his credits and I could talk to
college counseling. They had been investigating a
GED for other students.

And Winter called back and spoke with
Michael and said basically -- I have written same
thing, meaning he said the same thing to Michael,
that you cannot come on campus and that you are --
have been recommended for dismissal.
Okay. And when were these notes -- when were they
prepared?
Probably Friday evening.
And Friday evening, May 28th of 2004?

I probably sat down after we had all the meetings

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Friday and wrote it Friday night.
All right. Now, let's go back to your calendar, at
least the portion from May 2004 which is Exhibit 1.
There's a notation May 26, 1:30, called, suspended.
Do you see that?
1:30 call from Michael. And at that meeting that I
met with Dean Winter he said he was suspended.
So you were notified on May 26th that he had been
suspended; correct?
Correct. Verbally by Dean Winter.
Okay. And was it your understanding he was
suspended pending conducting the conduct review
board hearing?
No. Pending the -- while they went -- I guess they
suspended people that were involved with the
computer scandal in order to give them time to
determine what went on or something.
All right. But you were notified on May 26 that he
had been suspended?
Correct.
And it related to this -- these allegations
involving the computer?
Right.
And you would agree as of May 26th, according to

your version of things, Michael had not completed

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the requirements to graduate?

Yes.

Okay. Let's go to the next page, Page 5.

(Witness complies.)

So this is Friday. So this still is May 28th, 2004?
Same day, yeah.

Okay. If you would, why don't you read these for us
as well, please.

Okay. Friday a.m. we went in, meaning to Arlyce's
office, Arlyce Seibert's office at 10 o'clock
without Michael for 45 minutes. That's approximate.
She said regarding the IT. She was -- well, how she
said it was she was convinced she was -- felt the
information convincing that he was involved.

She felt that the information that
she had received was convincing that he was involved
and that was given her. And we should have Winter,
Pickett, Shaw present that. Okay. She did not have
any of the proof that he was involved is what she
was telling us.

The "she" we're referring to would be Arlyce
Seibert?

Arlyce Seibert said she -- Mike asked her for the
proof that he was involved. She said she did not

have the proof but she felt that the proof was

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That night.
Okay. And let's talk very briefly about Matthew's
experience at Cranbrook. How would you characterize
his experience at Cranbrook?
Fine.
And he obviously was enrolled there in academic year
2004-2005, 2005-2006, and then when he graduated in
2006-2007; correct?
Yes. From six through 12 he was at Cranbrook.

MR. LINDEN: Give me a minute. I
think we're just about done.

(Short recess taken at 2:02

p.m.)

(Back on the record at 2:19

p.m.)

BY MR. LINDEN:

Q

Just I think a few follow-up questions. Then we
should be done. So Exhibit 5, your notes, did
someone ask you to prepare these notes?

No.

And I'd like you to turn to Page 4 of the notes,
which the top of it should indicate Friday a.m. and
we established before, this was Friday, May 28th,
2004; correct?

Um-hmm.

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That's a "yes"?
Yes. I'm sorry.
Thank you. So the first sentence you have, Michael

e-mailed stat. And I believe you indicated before

that was his statistics exam?

Well, he was in this group -- they didn't do an
exam. They just did a project or something. I
don't exactly know what it was. But I just made a

note of it because I wanted to be sure that
everything that he thought he did was -- I think
what they did was they had to submit their stuff
during the time that they -- the class was or
something. He didn't actually turn it in because he
was ~- it was a group of six, I think. And
something --

But it was a group project required by tnat class?
Yes.

And he was turning it in via e-mail on May 28th;
correct?

Right, right. I believe, yes.

And it's something he needed to de to complete the
course?

Yes.

And then it indicates, I could talk to college

counseling. They had been investigating a GED for

